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                       , ZDQW WR VHOO WKH 3URSHUW\ DQG XVH WKH H[FHVV SURFHHGV WR PDNH D VLJQLILFDQW
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     VHFRQG GHHG RI WUXVW LQ WKH RULJLQDO DPRXQW  PLOOLRQ LQ IDYRU RI *HQRYD &DSLWDO ,QF

     ³*HQRYD´ DQGDDEVWUDFWRIMXGJPHQWUHFRUGHGDJDLQVWWKH3URSHUW\ ³$EVWUDFW´ $

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                      $GPLWWHGO\P\IDPLO\DQG*HQRYDKDYHDORQJDQGFRQWHQWLRXVKLVWRU\LQFOXGLQJ
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     HQWHUWDLQPHQWYLDDQGHQWLW\QDPHG0DOLEX+ROGLQJV//&

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                       $WUXHDQGFRUUHFWFRS\RIWKH1RYHPEHU6WDWH&RXUW'HFLVLRQLVDWWDFKHGWR
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     9LQWDJH&DSLWDODQGUHTXLUHGP\VHOIDQGP\FRXQVHOWRFRQWDFW9LQWDJH&DSLWDOQRW*HQRYD

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                      ,ZLOODOVREHUHWDLQLQJ*UREVWHLQ7HHSOH//3 ³*7´ WRDVVLVWLQWKHSUHSDUDWLRQRI
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     DQDO\VLVZKHQWKHVDOHSULFHRIWKH3URSHUW\LVGHWHUPLQHG

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                                                     EXHIBIT1
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                                         First American Title Company
                                                          4 First American Way
                                                          Santa Ana, CA 92707
                                        California Department of Insurance License No. 151
     Order Number:                                        O-SA-6230236 (DTJS)

     Title Officer:                                             Debbie Tognetti/ Joel Sotto
     Phone:                                                     (714)250-8579
     Fax No.:                                                   (714)481-2956
     E-Mail:                                                    FAHQ-RA-OCTitle3@firstam.com
     Owner:                                                     Genova Cap Inc
     Property:                                                  11802 Ellice Street
                                                                Malibu, CA 90265

                                                         PRELIMINARY REPORT

     In response to the above referenced application for a policy of title insurance, this company hereby reports that it is prepared to
     issue, or cause to be issued, as of the date hereof, a Policy or Policies of Title Insurance describing the land and the estate or
     interest therein hereinafter set forth, insuring against loss which may be sustained by reason of any defect, lien or encumbrance not
     shown or referred to as an Exception below or not excluded from coverage pursuant to the printed Schedules, Conditions and
     Stipulations of said Policy forms.

     The printed Exceptions and Exclusions from the coverage and Limitations on Covered Risks of said policy or policies are set forth in
     Exhibit A attached. The policy to be issued may contain an arbitration clause. When the Amount of Insurance is less than that set
     forth in the arbitration clause, all arbitrable matters shall be arbitrated at the option of either the Company or the Insured as the
     exclusive remedy of the parties . Limitations on Covered Risks applicable to the CLTA and ALTA Homeowner's Policies of Title
     Insurance which establish a Deductible Amount and a Maximum Dollar Limit of Liability for certain coverages are also set forth in
     Exhibit A. Copies of the policy forms should be read. They are available from the office which issued this report.

     Please read the exceptions shown or referred to below and the exceptions and exclusions set forth in Exhibit A of
     this report carefully. The exceptions and exclusions are meant to provide you with notice of matters which are not
     covered under the terms of the title insurance policy and should be carefully considered.

     It is important to note that this preliminary report is not a written representation as to the condition of title and
     may not list all liens, defects, and encumbrances affecting title to the land.

     This report (and any supplements or amendments hereto) is issued solely for the purpose of facilitating the issuance of a policy of
     title insurance and no liability is assumed hereby. If it is desired that liability be assumed prior to the issuance of a policy of title
     insurance, a Binder or Commitment should be requested.




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     Dated as of April 03, 2020 at 7:30 A.M.

     The form of Policy of title insurance contemplated by this report is:

     ALTA/CLTA Homeowner's (EAGLE) Policy of Title Insurance (2013) and ALTA Ext Loan Policy 1056.06
     (06-17-06) if the land described is an improved residential lot or condominium unit on which there is
     located a one-to-four family residence; or ALTA Standard Owner's Policy 2006 (WRE 06-17-06) and the
     ALTA Loan Policy 2006 (06-17-06) if the land described is an unimproved residential lot or condominium
     unit

     A specific request should be made if another form or additional coverage is desired.

     Title to said estate or interest at the date hereof is vested in:


         Genova Capital, Inc., a California Corporation

     The estate or interest in the land hereinafter described or referred to covered by this Report is:

         A FEE AS TO PARCEL(S) 1, AN EASEMENT AS TO PARCEL(S) 2

     The Land referred to herein is described as follows:

     (See attached Legal Description)

     At the date hereof exceptions to coverage in addition to the printed Exceptions and Exclusions in said
     policy form would be as follows:


1.       General and special taxes and assessments for the fiscal year 2020-2021, a lien not yet due or
         payable.


2.       The lien of supplemental taxes, if any, assessed pursuant to Chapter 3.5 commencing with Section 75
         of the California Revenue and Taxation Code.

3.       Any easements or servitudes appearing in the public records.
         Affects:      Common Area.



4.       Any and all offers of dedications, conditions, restrictions, easements, notes and/or provisions shown
         or disclosed by the filed or recorded map referred to in the legal description including but not limited
         to: PUBLIC UTILITIES and incidental purposes affecting said land.

5.        Abutter's rights of ingress and egress to or from PACIFIC COAST HIGHWAY, have been dedicated or
         relinquished on the filed Map.




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 6.   An easement for public utilities and incidental purposes in the document recorded November 27,
      1940 as Book 628, Page 87 of Official Records.

 7.   A waiver of any claims for damages by reason of the location, construction, landscaping or
      maintenance of a contiguous freeway, highway or roadway, as contained in the document
      recorded June 17, 1952 as Book 1072, Page 57 of Official Records.

 8.   An offer of dedication for wastewater disposal systems and appurtenances thereto, including, but not
      limited to ingress and egress and incidental purposes, recorded August 29, 2000 as Instrument No.
      2000-138435 of Official Records.
      To:               County of Ventura

      The location of the easement cannot be determined from record information.

 9.   Covenants, conditions, restrictions, easements, assessments, liens, charges, terms and provisions in
      the document recorded February 14, 2011 as Instrument No. 2011-24632 of Official Records, which
      provide that a violation thereof shall not defeat or render invalid the lien of any first mortgage or
      deed of trust made in good faith and for value but deleting any covenant, condition, or restriction, if
      any, indicating a preference, limitation, or discrimination based on race, color, religion, sex, gender,
      gender identity, gender expression, sexual orientation, familial status, marital status, disability,
      handicap, veteran or military status, genetic information, national origin, source of income as defined
      in subdivision (p) of Section 12955, or ancestry, to the extent that such covenants, conditions or
      restrictions violate applicable state or federal laws. Lawful restrictions under state and federal law on
      the age of occupants in senior housing or housing for older persons shall not be construed as
      restrictions based on familial status.

      Document(s) declaring modifications thereof recorded October 24, 2013 as Instrument No. 2013-
      00177041 of Official Records.

      A declaration of annexation recorded October 24, 2013 as Instrument No. 2013-00177041 of Official
      Records but deleting any covenant, condition, or restriction, if any, indicating a preference, limitation,
      or discrimination based on race, color, religion, sex, gender, gender identity, gender expression,
      sexual orientation, familial status, marital status, disability, handicap, veteran or military status,
      genetic information, national origin, source of income as defined in subdivision (p) of Section 12955,
      or ancestry, to the extent that such covenants, conditions or restrictions violate applicable state or
      federal laws. Lawful restrictions under state and federal law on the age of occupants in senior
      housing or housing for older persons shall not be construed as restrictions based on familial status.

10.   The terms and provisions contained in the document entitled "Notice of Election of Alternative Pre-
      Litigation Procedures for Construction Claims Pursuant to California Civil Code Section 895 ET Seq"
      recorded May 10, 2011 as Instrument No. 2011-00071876 of Official Records.

11.   An easement for landscape and incidental purposes in the document recorded October 15, 2012
      as Instrument No. 2012-183146 of Official Records.




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12.        A deed of trust to secure an original indebtedness of $11,500,000.00 recorded JUNE 12, 2013 as
           INSTRUMENT NO. 13-106071 OF OFFICIAL RECORDS.
           Dated:                             JUNE 03, 2013
           Trustor:                           BRIGHAM FIELD AND COLETTE PELISSIER, AKA COLETTE
                                              PELISSIER FIELD, HUSBAND AND WIFE, AS COMMUNITY
                                              PROPERTY WITH RIGHT OF SURVIVORSHIP
           Trustee:                           CHICAGO TITLE COMPANY, A CALIFORNIA CORPORATION
           Beneficiary:                       CROWN POINTE ESTATES AT MALIBU, LLC, A CALIFORNIA
                                              LIMITED LIABILITY COMPANY



      a. If this deed of trust is to be eliminated in the policy or policies contemplated by this
         report/commitment, the company will require the following for review prior to the recordation of any
         documents or the issuance of any policy of title insurance:
                 i.   Original note and deed of trust.
                 ii.  Payoff demand statement signed by all present beneficiaries.
                 iii. Request for reconveyance or substitution of trustee and full reconveyance must be
                      signed by all present beneficiaries and must be notarized by a First American approved
                      notary.

      b. If the payoff demand statement or the request for reconveyance is to be signed by a servicer, we will
         also require a full copy of the loan servicing agreement executed by all present beneficiaries.

      c.   If any of the beneficial interest is presently held by trustees under a trust agreement, we will require
           a certification pursuant to Section 18100.5 of the California Probate Code in a form satisfactory to the
           Company.

           A document recorded SEPTEMBER 26, 2013 as INSTRUMENT NO. 13-163981 of Official Records
           provides that the deed of trust or the obligation secured thereby has been modified.

           According to the public records, the beneficial interest under the deed of trust was assigned to
           FIRST-CITIZENS BANK & TRUST COMPANY, A NORTH CAROLINA COMMERCIAL BANK by assignment
           recorded SEPTEMBER 26, 2013 as INSTRUMENT NO. 13-163983 of Official Records.

           The effect of a document entitled "RELEASE AND REASSIGNMENT OF COLLATERAL ASSIGNMENT OF
           DEED OF TRUST AND RELATED LOAN DOCUMENTS", recorded NOVEMBER 25, 2013 as
           INSTRUMENT NO. 13-191132 of Official Records.

13.        A deed of trust to secure an original indebtedness of $9,000,000.00 recorded MARCH 26, 2014 as
           INSTRUMENT NO. 14-38119 OF OFFICIAL RECORDS.
           Dated:                             MARCH 19, 2014
           Trustor:                           BRIGHAM FIELD AND COLETTE PELISSIER, HUSBAND AND
                                              WIFE, AS COMMUNITY PROPERTY WITH RIGHT OF
                                              SURVIVORSHIP
           Trustee:                           FIDELITY NATIONAL TITLE
           Beneficiary:                       BANC OF CALIFORNIA, NATIONAL ASSOCIATION



           A document recorded JANUARY 22, 2020 as INSTRUMENT NO. 20-9175 of Official Records provides
           that THE WOLF FIRM, A LAW CORPORATION was substituted as trustee under the deed of trust.

           A notice of default recorded JANUARY 22, 2020 as INSTRUMENT NO. 20-9176 of Official Records.



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14.        A deed of trust to secure an original indebtedness of $2,500,000.00 recorded DECEMBER 01, 2016 as
           INSTRUMENT NO. 16-178192 OF OFFICIAL RECORDS.
           Dated:                             NOVEMBER 23, 2016
           Trustor:                           BRIGHAM FIELD AND COLETTE PELISSIER, HUSBAND AND
                                              WIFE AS JOINT TENANTS
           Trustee:                           COMMONWEALTH LAND TITLE COMPANY
           Beneficiary:                       GENOVA CAPITAL, INC., A CALIFORNIA CORPORATION



      a. If this deed of trust is to be eliminated in the policy or policies contemplated by this
         report/commitment, the company will require the following for review prior to the recordation of any
         documents or the issuance of any policy of title insurance:
                 i.   Original note and deed of trust.
                 ii.  Payoff demand statement signed by all present beneficiaries.
                 iii. Request for reconveyance or substitution of trustee and full reconveyance must be
                      signed by all present beneficiaries and must be notarized by a First American approved
                      notary.

      b. If the payoff demand statement or the request for reconveyance is to be signed by a servicer, we will
         also require a full copy of the loan servicing agreement executed by all present beneficiaries.

      c.   If any of the beneficial interest is presently held by trustees under a trust agreement, we will require
           a certification pursuant to Section 18100.5 of the California Probate Code in a form satisfactory to the
           Company.

           According to the public records, the beneficial interest of 52% INTEREST under the deed of trust was
           assigned to ROBERT LEEHMAN DEFINED BENEFIT PENSION PLAN AND TRUST by assignment
           recorded JULY 21, 2017 as INSTRUMENT NO. 17-93974 of Official Records.

           According to the public records, the beneficial interest of 40% INTEREST under the deed of trust was
           assigned to DARICE, LLC by assignment recorded JULY 21, 2017 as INSTRUMENT NO. 17-93975 of
           Official Records.

           A document recorded CALIFORNIA TD SPECIALISTS as JANUARY 13, 2020 of Official Records
           provides that INSTRUMENT NO. 20-4062 was substituted as trustee under the deed of trust.

           A notice of default recorded JANUARY 13, 2020 as INSTRUMENT NO. 20-4063 of Official Records.

15.        Notice of pendency of action recorded MARCH 08, 2018 as INSTRUMENT NO. 18-27474 of Official
           Records.

           Court:          SUPERIOR COURT OF THE STATE OF CALIFORNIA FOR THE
                           COUNTY OF LOS ANGELES, SANTA MONICA COURTHOUSE
           Case No.:       SC128336
           Plaintiff:      HELENA DEEDS, AN INDIVIDUAL
           Defendant:      COLETTE PELISSIER AKA COLETTE PELISSIER FIELD, AN
                           INDIVIDUAL; AND BRIGHAM FIELD, AN INDIVIDUAL; MALIBU
                           MEDIA, LLC, A CALIFORNIA LIMITED LIABILITY COMPANY;
                           CLICK HERE LLC, A CALIFORNIA LIMITED LIABILITY COMPANY;
                           COLETTE HOLDINGS, LLC, A CALIFORNIA LIMITED LIABILITY
                           COMPANY; COLETTE PROPERTIES, LLC, A CALIFORNIA LIMITED
                           LIABILITY COMPANY; COLETTE PRODUCTION, INC.; AND DOES
                           5 THROUGH 25, INCLUSIVE
           Purpose:        AFFECTS TITLE TO REAL PROPERTY

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   16.    Any irregularity in the foreclosure proceedings leading up to the Trustee's Deed recorded AUGUST
         16, 2019 as INSTRUMENT NO. 19-94754 of Official Records.

   17.   Rights of parties in possession and rights of tenant(s) in the Land, including rights of all parties
         claiming by, through or under said tenant(s).

         We will require an approved declaration signed by the seller/seller's authorized agent and the buyer
         prior to close of this transaction.

   18.   Notice of pendency of action recorded AUGUST 28, 2019 as INSTRUMENT NO. 19-99891 of Official
         Records.

         Court:          SUPERIOR COURT OF THE STATE OF CALIFORNIA COUNTY OF
                         VENTURA, HALL OF JUSTICE
         Case No.:       56-2019-00532393-CU-OR-VTA
         Plaintiff:      BRIGHAM FIELD, COLETTE PELISSIER
         Defendant:      GENOVA CAPITAL INC., A CALIFORNIA CORPORATION;
                         CALIFORNIA TD SPECIALISTS, A CALIFORNIA CORPORATION,
                         ALL PERSONS UNKNOWN, CLAIMING ANY LEGAL OR EQUITABLE
                         RIGHT, TITLE, ESTATE, LIEN, OR INTEREST IN THE PROPERTY
                         DESCRIBED IN THE COMPLAINT ADVERSE TO PLAINTIFFS'
                         TITLE, OR ANY CLOUD ON PLAINTIFFS' TITLE THERETO AND
                         DOES 1 THROUGH 20, INCLUSIVE
         Purpose:        AFFECTS TITLE TO REAL PROPERTY

   19.   Any easements and/or servitudes affecting easement parcel(s) 2 herein described.

   20.   The new lender, if any, for this transaction may be a Non-Institutional Lender. If so, the Company
         will require the Deed of Trust to be signed before a First American approved notary.

         Prior to the issuance of any policy of title insurance, the Company will require:

   21.   With respect to GENOVA CAPITAL, INC., a corporation:
         a. A certificate of good standing of recent date issued by the Secretary of State of the corporation's
         state of domicile.
         b. A certified copy of a resolution of the Board of Directors authorizing the contemplated transaction
         and designating which corporate officers shall have the power to execute on behalf of the
         corporation.
         c. Other requirements which the Company may impose following its review of the material required
         herein and other information which the Company may require.




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                                             INFORMATIONAL NOTES

     Note: The policy to be issued may contain an arbitration clause. When the Amount of Insurance is less
     than the certain dollar amount set forth in any applicable arbitration clause, all arbitrable matters shall be
     arbitrated at the option of either the Company or the Insured as the exclusive remedy of the parties. If
     you desire to review the terms of the policy, including any arbitration clause that may be included,
     contact the office that issued this Commitment or Report to obtain a sample of the policy jacket for the
     policy that is to be issued in connection with your transaction.



1.       General and special taxes and assessments for the fiscal year 2019-2020.

         First Installment:                    $89,833.78, PAID
         Penalty:                              $0.00
         Second Installment:                   $89,833.78, PAID
         Penalty:                              $0.00
         Tax Rate Area:                        71037
         A. P. No.:                            700-0-260-065

2.       This report is preparatory to the issuance of an ALTA Loan Policy. We have no knowledge of any fact
         which would preclude the issuance of the policy with CLTA endorsement forms 100 and 116 and if
         applicable, 115 and 116.2 attached.

         When issued, the CLTA endorsement form 116 or 116.2, if applicable will reference a(n) Single
         Family Residence lying within a Planned Unit Development known as 11802 Ellice Street, Malibu, CA.

3.       According to the public records, there has been no conveyance of the land within a period of twenty
         four months prior to the date of this report, except as follows:

         Trustee's Deed from CALIFORNIA TD SPECIALISTS as Trustee to GENOVA CAPITAL, INC., A
         CALIFORNIA CORPORATION recorded AUGUST 16, 2019 as INSTRUMENT NO. 19-94754 of Official
         Records. Amount of the unpaid debt together with costs was $160,076.39

         NOTE to proposed insured lender only: No Private transfer fee covenant, as defined in Federal
         Housing Finance Agency Final Rule 12 CFR Part 1228, that was created and first appears in the Public
         Records on or after February 8, 2011, encumbers the Title except as follows: None

     The map attached, if any, may or may not be a survey of the land depicted hereon. First American
     expressly disclaims any liability for loss or damage which may result from reliance on this map except to
     the extent coverage for such loss or damage is expressly provided by the terms and provisions of the title
     insurance policy, if any, to which this map is attached.




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                                              LEGAL DESCRIPTION

     Real property in the unincorporated area of the County of Ventura, State of California, described as
     follows:

     PARCEL 1:

     LOT 6 OF TRACT NO. 4483, IN THE COUNTY OF VENTURA, STATE OF CALIFORNIA, AS PER MAP
     RECORDED IN BOOK 146, PAGE 19 THROUGH 22 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY
     RECORDER OF SAID COUNTY.

     EXCEPT ONE-EIGHTH OF MINERALS, OIL, PETROLEUM, ASPHALTUM, GAS, COAL AND OTHER
     HYDROCARBON SUBSTANCES, AS RESERVED BY MARBLEHEAD LAND COMPANY, IN DEED RECORDED
     NOVEMBER 27, 1940, IN BOOK 628, PAGE 87 OF OFFICIAL RECORDS.

     PARCEL 2:

     NON-EXCLUSIVE EASEMENTS APPURTENANT TO PARCEL 1 ABOVE, ON AND OVER THE "COMMON
     AREA" AS DEFINED IN THE DECLARATION FOR ACCESS, USE, OCCUPANCY, ENJOYMENT, INGRESS AND
     EGRESS OF THE AMENITIES LOCATED THEREON. THE COMMON AREA IS FOR THE USE OF OWNERS OF
     LOTS WHICH ARE SUBJECT TO THE DECLARATION AND IS NOT FOR THE USE OF THE GENERAL
     PUBLIC.

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                                                       NOTICE

    Section 12413.1 of the California Insurance Code, effective January 1, 1990, requires that any title insurance
    company, underwritten title company, or controlled escrow company handling funds in an escrow or sub-
    escrow capacity, wait a specified number of days after depositing funds, before recording any documents in
    connection with the transaction or disbursing funds. This statute allows for funds deposited by wire transfer
    to be disbursed the same day as deposit. In the case of cashier's checks or certified checks, funds may be
    disbursed the next day after deposit. In order to avoid unnecessary delays of three to seven days, or more,
    please use wire transfer, cashier's checks, or certified checks whenever possible.




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                                                                 EXHIBIT A
                                         LIST OF PRINTED EXCEPTIONS AND EXCLUSIONS (BY POLICY TYPE)


                                             CLTA STANDARD COVERAGE POLICY – 1990
                                                    EXCLUSIONS FROM COVERAGE

The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs,
attorneys' fees or expenses which arise by reason of:
1. (a) Any law, ordinance or governmental regulation (including but not limited to building or zoning laws, ordinances, or regulations)
           restricting, regulating, prohibiting or relating (i) the occupancy, use, or enjoyment of the land; (ii) the character, dimensions or
           location of any improvement now or hereafter erected on the land; (iii) a separation in ownership or a change in the
           dimensions or area of the land or any parcel of which the land is or was a part; or (iv) environmental protection, or the effect
           of any violation of these laws, ordinances or governmental regulations, except to the extent that a notice of the enforcement
           thereof or a notice of a defect, lien, or encumbrance resulting from a violation or alleged violation affecting the land has been
           recorded in the public records at Date of Policy.
     (b) Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or notice
           of a defect, lien or encumbrance resulting from a violation or alleged violation affecting the land has been recorded in the
           public records at Date of Policy.
2. Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not
     excluding from coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser
     for value without knowledge.
3. Defects, liens, encumbrances, adverse claims or other matters:
     (a) whether or not recorded in the public records at Date of Policy, but created, suffered, assumed or agreed to by the insured
           claimant;
     (b) not known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not
           disclosed in writing to the Company by the insured claimant prior to the date the insured claimant became an insured under
           this policy;
     (c) resulting in no loss or damage to the insured claimant;
     (d)   attaching or created subsequent to Date of Policy; or
     (e)   resulting in loss or damage which would not have been sustained if the insured claimant had paid value for the insured
           mortgage or for the estate or interest insured by this policy.
4.   Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability
     or failure of any subsequent owner of the indebtedness, to comply with the applicable doing business laws of the state in which the
     land is situated.
5.   Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises out of the transaction evidenced by
     the insured mortgage and is based upon usury or any consumer credit protection or truth in lending law.
6.   Any claim, which arises out of the transaction vesting in the insured the estate of interest insured by this policy or the transaction
     creating the interest of the insured lender, by reason of the operation of federal bankruptcy, state insolvency or similar creditors'
     rights laws.
                                            EXCEPTIONS FROM COVERAGE - SCHEDULE B, PART I
This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by
reason of:
1. Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies taxes or assessments
     on real property or by the public records.
     Proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings, whether or not shown by
     the records of such agency or by the public, records.
2. Any facts, rights, interests, or claims which are not shown by the public records but which could be ascertained by an inspection of
     the land or which may be asserted by persons in possession thereof.
3. Easements, liens or encumbrances, or claims thereof, not shown by the public records.
4.   Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a correct survey would
     disclose, and which are not shown by the public records.
5.   (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights,
     claims or title to water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
6.   Any lien or right to a lien for services, labor or material unless such lien is shown by the public records at Date of Policy.




                                   CLTA/ALTA HOMEOWNER'S POLICY OF TITLE INSURANCE (12-02-13)
                                                          EXCLUSIONS

In addition to the Exceptions in Schedule B, You are not insured against loss, costs, attorneys' fees, and expenses resulting from:
1. Governmental police power, and the existence or violation of those portions of any law or government regulation concerning:
     a. building;
     b. zoning;
     c. land use;



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         d. improvements on the Land;
         e. land division; and
         f. environmental protection.
         This Exclusion does not limit the coverage described in Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23 or 27.
2.       The failure of Your existing structures, or any part of them, to be constructed in accordance with applicable building codes. This Exclusion
         does not limit the coverage described in Covered Risk 14 or 15.
3.       The right to take the Land by condemning it. This Exclusion does not limit the coverage described in Covered Risk 17.
4.       Risks:
         a. that are created, allowed, or agreed to by You, whether or not they are recorded in the Public Records;
         b. that are Known to You at the Policy Date, but not to Us, unless they are recorded in the Public Records at the Policy Date;
         c. that result in no loss to You; or
         d. that first occur after the Policy Date - this does not limit the coverage described in Covered Risk 7, 8.e., 25, 26, 27 or 28.
5.       Failure to pay value for Your Title.
6.       Lack of a right:
         a. to any land outside the area specifically described and referred to in paragraph 3 of Schedule A; and
         b. in streets, alleys, or waterways that touch the Land.
         This Exclusion does not limit the coverage described in Covered Risk 11 or 21.
7.       The transfer of the Title to You is invalid as a preferential transfer or as a fraudulent transfer or conveyance under federal bankruptcy, state
         insolvency, or similar creditors' rights laws.
8.       Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
9.       Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.


                                                        LIMITATIONS ON COVERED RISKS

Your insurance for the following Covered Risks is limited on the Owner's Coverage Statement as follows:
For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:

                                                      Your Deductible Amount                              Our Maximum Dollar Limit of Liability

Covered Risk 16:                        1% of Policy Amount Shown in Schedule A or $2,500                                $10,000
                                                        (whichever is less)

Covered Risk 18:                        1% of Policy Amount Shown in Schedule A or $5,000                                $25,000
                                                        (whichever is less)

Covered Risk 19:                        1% of Policy Amount Shown in Schedule A or $5,000                                $25,000
                                                        (whichever is less)

Covered Risk 21:                        1% of Policy Amount Shown in Schedule A or $2,500                                 $5,000
                                                        (whichever is less)



    

                                                       2006 ALTA LOAN POLICY (06-17-06)
                                                           EXCLUSIONS FROM COVERAGE

The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys'
fees, or expenses that arise by reason of:

1.       (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting,
         or relating to

             (i) the occupancy, use, or enjoyment of the Land;
             (ii) the character, dimensions, or location of any improvement erected on the Land;
             (iii) the subdivision of land; or
             (iv) environmental protection;

        or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
         provided under Covered Risk 5.
        (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2.       Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3.       Defects, liens, encumbrances, adverse claims, or other matters
        (a) created, suffered, assumed, or agreed to by the Insured Claimant;
        (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
         writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;



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        (c) resulting in no loss or damage to the Insured Claimant;
        (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11,
         13, or 14); or
        (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4.       Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business
         laws of the state where the Land is situated.
5.       Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the
         Insured Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law.
6.       Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors' rights laws, that the transaction creating the
         lien of the Insured Mortgage, is
        (a) a fraudulent conveyance or fraudulent transfer, or
        (b) a preferential transfer for any reason not stated in Covered Risk 13(b) of this policy.
7.       Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy
         and the date of recording of the Insured Mortgage in the Public Records. This Exclusion does not modify or limit the coverage provided under
         Covered Risk 11(b).


The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from
Coverage, the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                          EXCEPTIONS FROM COVERAGE
[Except as provided in Schedule B - Part II,[ t[or T]his policy does not insure against loss or damage, and the Company will not pay costs,
attorneys' fees or expenses, that arise by reason of:
                                                                     [PART I
[The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from
Coverage, the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such
     proceedings, whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or
     that may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or
     title to water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material unless such lien is shown by the Public Records at Date of Policy.

                                                                         PART II
,QDGGLWLRQWRWKHPDWWHUVVHWIRUWKLQ3DUW,RIWKLV6FKHGXOHWKH7LWOHLVVXEMHFWWRWKHIROORZLQJPDWWHUVDQGWKH&RPSDQ\LQVXUHVDJDLQVWORVV
RUGDPDJHVXVWDLQHGLQWKHHYHQWWKDWWKH\DUHQRWVXERUGLQDWHWRWKHOLHQRIWKH,QVXUHG0RUWJDJH@

    
                                                     2006 ALTA OWNER'S POLICY (06-17-06)
                                                           EXCLUSIONS FROM COVERAGE

The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys'
fees, or expenses that arise by reason of:

1.       (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting,
         or relating to

             (i) the occupancy, use, or enjoyment of the Land;
             (ii) the character, dimensions, or location of any improvement erected on the Land;
             (iii) the subdivision of land; or
             (iv) environmental protection;

        or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
         provided under Covered Risk 5.
        (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2.       Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3.       Defects, liens, encumbrances, adverse claims, or other matters
        (a) created, suffered, assumed, or agreed to by the Insured Claimant;
        (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
         writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;



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      (c) resulting in no loss or damage to the Insured Claimant;
      (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 9 or
      10); or
      (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Title.
4.    Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors' rights laws, that the transaction vesting the
      Title as shown in Schedule A, is
      (a) a fraudulent conveyance or fraudulent transfer, or
      (b) a preferential transfer for any reason not stated in Covered Risk 9 of this policy.
5.    Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy
      and the date of recording of the deed or other instrument of transfer in the Public Records that vests Title as shown in Schedule A.


The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from
Coverage, the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE

This policy does not insure against loss or damage, and the Company will not pay costs, attorneys' fees or expenses, that arise by reason of:
[The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from
Coverage, the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

1.    (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
      property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such
      proceedings, whether or not shown by the records of such agency or by the Public Records.
2.    Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or
      that may be asserted by persons in possession of the Land.
3.    Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4.    Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
      complete land survey of the Land and not shown by the Public Records.
5.    (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or
      title to water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6.    Any lien or right to a lien for services, labor or material unless such lien is shown by the Public Records at Date of Policy.
7.    [Variable exceptions such as taxes, easements, CC&R's, etc. shown here.]


                                 ALTA EXPANDED COVERAGE RESIDENTIAL LOAN POLICY (07-26-10)
                                                 EXCLUSIONS FROM COVERAGE

The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys'
fees, or expenses that arise by reason of:

1.    (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting,
      or relating to

           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;

      or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the
      coverage provided under Covered Risk 5, 6, 13(c), 13(d), 14 or 16.
      (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 5, 6, 13(c), 13(d),
      14 or 16.
2.    Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3.    Defects, liens, encumbrances, adverse claims, or other matters
      (a) created, suffered, assumed, or agreed to by the Insured Claimant;
      (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
      writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
      (c) resulting in no loss or damage to the Insured Claimant;
      (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11,
      16, 17, 18, 19, 20, 21, 22, 23, 24, 27 or 28); or
      (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4.    Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business
      laws of the state where the Land is situated.
5.    Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the
      Insured Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law. This Exclusion does not modify or limit
      the coverage provided in Covered Risk 26.
6.    Any claim of invalidity, unenforceability or lack of priority of the lien of the Insured Mortgage as to Advances or modifications made after the


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     Insured has Knowledge that the vestee shown in Schedule A is no longer the owner of the estate or interest covered by this policy. This
     Exclusion does not modify or limit the coverage provided in Covered Risk 11.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching subsequent to Date of
     Policy. This Exclusion does not modify or limit the coverage provided in Covered Risk 11(b) or 25.
8. The failure of the residential structure, or any portion of it, to have been constructed before, on or after Date of Policy in accordance with
     applicable building codes. This Exclusion does not modify or limit the coverage provided in Covered Risk 5 or 6.
9. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors' rights laws, that the transaction creating the
     lien of the Insured Mortgage, is
    (a) a fraudulent conveyance or fraudulent transfer, or
    (b) a preferential transfer for any reason not stated in Covered Risk 27(b) of this policy.
 Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
 Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.





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                                                                   Privacy Notice
Effective: January 1, 2020
Notice Last Updated: January 1, 2020
This Privacy Notice describes how First American Financial Corporation and its subsidiaries and affiliates (together
referred to as “First American,” “we,” “us,” or “our”) collect, use, store, and share your information. This Privacy Notice
applies to information we receive from you offline only, as well as from third parties. For more information about our
privacy practices, please visit https://www.firstam.com/privacy-policy/index.html. The practices described in this Privacy
Notice are subject to applicable laws in the places in which we operate.
What Type Of Information Do We Collect About You? We collect both personal and non-personal information
about and from you. Personal information is non-public information that can be used to directly or indirectly identify or
contact you. Non-personal information is any other type of information.
How Do We Collect Your Information? We collect your personal and non-personal information: (1) directly from
you; (2) automatically when you interact with us; and (3) from third parties, including business parties and affiliates.
How Do We Use Your Information? We may use your personal information in a variety of ways, including but not
limited to providing the services you have requested, fulfilling your transactions, comply with relevant laws and our
policies, and handling a claim. We may use your non-personal information for any purpose.
How Do We Share Your Personal Information? We do not sell your personal information to nonaffiliated third
parties. We will only share your personal information, including to subsidiaries, affiliates, and to unaffiliated third
parties: (1) with your consent; (2) in a business transfer; (3) to service providers; and (4) for legal process and
protection. If you have any questions about how First American shares your personal information, you may contact us
at dataprivacy@firstam.com or toll free at 1-866-718-0097.
How Do We Secure Your Personal Information? The security of your personal information is important to us.
That is why we take commercially reasonable steps to make sure your personal information is protected. We use our
best efforts to maintain commercially reasonable technical, organizational, and physical safeguards, consistent with
applicable law, to protect your personal information.
How Long Do We Keep Your Personal Information? We keep your personal information for as long as necessary
in accordance with the purpose for which it was collected, our business needs, and our legal and regulatory obligations.
Your Choices We provide you the ability to exercise certain controls and choices regarding our collection, use, storage,
and sharing of your personal information. In accordance with applicable law, your controls and choices. You can learn
more about your choices, and exercise these controls and choices, by sending an email to dataprivacy@firstam.com or
toll free at 1-866-718-0097.
International Jurisdictions: Our Products are hosted and offered in the United States of America (US), and are subject
to US federal, state, and local law. If you are accessing the Products from another country, please be advised that you
may be transferring your personal information to us in the US, and you consent to that transfer and use of your
personal information in accordance with this Privacy Notice. You also agree to abide by the applicable laws of
applicable US federal, state, and local laws concerning your use of the Products, and your agreements with us.
We may change this Privacy Notice from time to time. Any and all changes to this Privacy Notice will be reflected on this
page, and where appropriate provided in person or by another electronic method. YOUR CONTINUED USE, ACCESS,
OR INTERACTION WITH OUR PRODUCTS OR YOUR CONTINUED COMMUNICATIONS WITH US AFTER THIS
NOTICE HAS BEEN PROVIDED TO YOU WILL REPRESENT THAT YOU HAVE READ AND UNDERSTOOD THIS
PRIVACY NOTICE.
Contact Us dataprivacy@firstam.com or toll free at 1-866-718-0097.




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                                                            For California Residents
If you are a California resident, you may have certain rights under California law, including but not limited to the
California Consumer Privacy Act of 2018 (“CCPA”). All phrases used in this section shall have the same meaning as those
phrases are used under California law, including the CCPA.
Right to Know. You have a right to request that we disclose the following information to you: (1) the categories of
personal information we have collected about or from you; (2) the categories of sources from which the personal
information was collected; (3) the business or commercial purpose for such collection and/or disclosure of your personal
information; (4) the categories of third parties with whom we have shared your personal information; and (5) the
specific pieces of your personal information we have collected. To submit a verified request for this information, go to
our online privacy policy at www.firstam.com/privacy-policy to submit your request or call toll-free at 1-866-718-0097.
You may also designate an authorized agent to submit a request on your behalf by going to our online privacy policy at
www.firstam.com/privacy-policy to submit your request or by calling toll-free at 1-866-718-0097 and submitting written
proof of such authorization to dataprivacy@firstam.com.
Right of Deletion. You also have a right to request that we delete the personal information we have collected from
you. This right is subject to certain exceptions available under the CCPA and other applicable law. To submit a verified
request for deletion, go to our online privacy policy at www.firstam.com/privacy-policy to submit your request or call toll-
free at 1-866-718-0097. You may also designate an authorized agent to submit a request on your behalf by going to our
online privacy policy at www.firstam.com/privacy-policy to submit your request or by calling toll-free at 1-866-718-0097
and submitting written proof of such authorization to dataprivacy@firstam.com.
Verification Process. For either a request to know or delete, we will verify your identity before responding to your
request. To verify your identity, we will generally match the identifying information provided in your request with the
information we have on file about you. Depending on the sensitivity of the personal information requested, we may also
utilize more stringent verification methods to verify your identity, including but not limited to requesting additional
information from you and/or requiring you to sign a declaration under penalty of perjury.
Right to Opt-Out. We do not sell your personal information to third parties, and do not plan to do so in the future.
Right of Non-Discrimination. You have a right to exercise your rights under California law, including under the CCPA,
without suffering discrimination. Accordingly, First American will not discriminate against you in any way if you choose to
exercise your rights under the CCPA.
Collection Notice. The following is a list of the categories of personal information we may have collected about
California residents in the twelve months preceding the date this Privacy Notice was last updated, including the business
or commercial purpose for said collection, the categories of sources from which we may have collected the personal
information, and the categories of third parties with whom we may have shared the personal information:
Categories of The categories of personal information we have collected include, but may not be limited to: real name;
Personal      signature; alias; SSN; physical characteristics or description, including protected characteristics under
Information   federal or state law; address; telephone number; passport number; driver’s license number; state
Collected     identification card number; IP address; policy number; file number; employment history; bank account
              number; credit card number; debit card number; financial account numbers; commercial information;
              internet or other electronic network activity; geolocation data; audio and visual information; professional
              or employment information; and inferences drawn from the above categories to create a profile about a
              consumer.
Categories of Categories of sources from which we’ve collected personal information include, but may not be
Sources      limited to: the consumer directly; public records; governmental entities; non-affiliated third parties;
              social media networks; affiliated third parties
Business      The business purposes for which we’ve collected personal information include, but may not be limited
Purpose for   to: completing a transaction for our Products; verifying eligibility for employment; facilitating
Collection    employment; performing services on behalf of affiliated and non-affiliated third parties; debugging to
              identify and repair errors that impair existing intended functionality on our Websites, Applications, or
              Products; protecting against malicious, deceptive, fraudulent, or illegal activity

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Categories of The categories of third parties with whom we’ve shared personal information include, but may not be
Third Parties limited to: advertising networks; internet service providers; data analytics providers; service providers;
Shared        government entities; operating systems and platforms; social media networks; non-affiliated third
              parties; affiliated third parties
Categories of Personal Information We Have Sold In The Past Year. We have not sold any personal information of
California residents to any third party in the twelve months preceding the date this Privacy Notice was last updated.

Categories of Personal Information Disclosed For A Business Purpose In The Past Year. The following is a list of the
categories of personal information of California residents we may have disclosed for a business purpose in the 12
months preceding the date this Privacy Notice was last updated: The categories of personal information we have collected
include, but may not be limited to: real name; signature; alias; SSN; physical characteristics or description, including
protected characteristics under federal or state law; address; telephone number; passport number; driver’s license
number; state identification card number; IP address; policy number; file number; employment history; bank account
number; credit card number; debit card number; financial account numbers; commercial information; internet or other
electronic network activity; geolocation data; audio and visual information; professional or employment information; and
inferences drawn from the above categories to create a profile about a consumer.




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled (specify): STATUS REPORT will be served or was served (a)
on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On May 18,
2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On May 18, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

DEBTOR                                          PRESIDING JUDGE’S COPY                                  U.S. TRUSTEE (ND)
BRIGHAM G. FIELD                                HONORABLE DEBORAH J. SALTZMAN.                          UNITED STATES TRUSTEE (ND)
11802 ELLICE STREET                             U. S. BANKRUPTCY COURT – ROYBAL                         915 WILSHIRE BLVD, SUITE 1850
MALIBU, CA 90265-2494                           FEDERAL BUILDING                                        LOS ANGELES, CA 90017-3560
                                                255 E. TEMPLE STREET, SUITE 1634 /
                                                COURTROOM 1639
                                                LOS ANGELES, CA 90012

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on May 18, 2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                  [PURSUANT TO AMENDED GENERAL ORDER 20-02,
               COURTESY COPIES WILL BE DELIVERED BY MAIL IF PLEADING IS OVER 25 PAGES.]

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 May 18, 2020        Layla Buchanan                                                             /s/ Layla Buchanan
 Date                        Printed Name                                                       Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
     ATTORNEY FOR U.S. TRUSTEE (ND): Brian D Fittipaldi brian.fittipaldi@usdoj.gov
     ATTORNEY FOR CREDITOR BANC OF CALIFORNIA, NATIONAL ASSOCIATION: Daniel K Fujimoto
       wdk@wolffirm.com
     ATTORNEY FOR DEBTOR BRIGHAM G. FIELD: D Edward Hays ehays@marshackhays.com,
       ehays@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com; cmendoza@marshackhays.com;
       cmendoza@ecf.courtdrive.com
     ATTORNEY FOR CREDITOR HELENA DEEDS: Andrew C Jhun ajhun@tuchmanlaw.net
     ATTORNEY FOR CREDITOR BANC OF CALIFORNIA, NATIONAL ASSOCIATION: Robert S McWhorter
       rmcwhorter@buchalter.com, wreinig@buchalter.com;asmith@buchalter.com
     ATTORNEY FOR CREDITOR BMW BANK OF NORTH AMERICA, C/O AIS PORTFOLIO SERVICES, LP:
       Ambrish B Patel apatelEI@americaninfosource.com
     UNITED STATES TRUSTEE (ND): United States Trustee (ND) ustpregion16.nd.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: CONTINUED:
20 LARGEST CREDITOR           20 LARGEST CREDITOR                                                         20 LARGEST CREDITOR
ALL PRO POOL AND SPA          BANK OF AMERICA                                                             BIRD MARELLA BOXER WOLPERT
P.O. BOX 6235                 555 CALIFORNIA STREET                                                       NESSIM
WESTLAKE VILLAGE, CA 91359-   SAN FRANCISCO, CA 94104-1690                                                1875 CENTURY PARK E
6235                                                                                                      #2300
                                                                                                          LOS ANGELES, CA 90067-2524

20 LARGEST CREDITOR                               20 LARGEST CREDITOR                                     20 LARGEST CREDITOR
BRAD COOK                                         CITIBANK                                                DECOTIIS, FITZPATRICK & COLE,
555 CORPORATE DRIVE SOUTH                         P.O. BOX 6500                                           LLP
SUITE 120                                         SIOUX FALLS, SD 57117-6500                              80 RED SCHOOLHOUSE ROAD
LADERA RANCH, CA 92694-2176                                                                               SUITE 110
                                                                                                          SPRING VALLEY, NY 10977-7052

20 LARGEST CREDITOR                               20 LARGEST CREDITOR                                     20 LARGEST CREDITOR
DEPARTMENT OF THE TREASURY                        DISCOVER                                                FRANCHISE TAX BOARD
- IRS                                             P.O. BOX 6103                                           BANKRUPTCY SECTION, MS:A-340
P.O. BOX 9002                                     CAROL STREAM, IL 60197-6103                             P.O. BOX 2952
HOLTSVILLE, NY 11742                                                                                      SACRAMENTO, CA 95812-2952

20 LARGEST CREDITOR                               20 LARGEST CREDITOR                                     20 LARGEST CREDITOR
HELENA DEEDS                                      SEMLER COMPANIES/MALIBU                                 SPECTRUM INTERNET
31844 SEAFIELD DRIVE                              32111 MULHOLLAND HWY                                    400 ATLANTIC STREET
MALIBU, CA 90265-2637                             RAMONA, CA 92065                                        10TH FLOOR
                                                                                                          STAMFORD, CT 06901-3512

20 LARGEST CREDITOR                               20 LARGEST CREDITOR                                     20 LARGEST CREDITOR
STEVEN HINTZ, TREASURER-TAX                       STONE/DEAN LLP                                          WARMBLOOD INC.
COLLECT                                           21600 OXNARD STREET                                     555 CORPORATE DRIVE
800 SOUTH VICTOR AVENUE                           SUITE 200                                               SUITE 120
VENTURA, CA 93009-1300                            WOODLAND HILLS, CA 91367-4971                           LADERA RANCH, CA 92694-2176




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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20 LARGEST CREDITOR                               20 LARGEST CREDITOR                                     20 LARGEST CREDITOR
WELLS FARGO BANK                                  INTERNAL REVENUE SERVICE                                CIVIL PROCESS CLERK
420 MONTGOMERY STREET                             PO BOX 7346                                             UNITED STATES ATTORNEY'S
SAN FRANCISCO, CA 94104-1298                      PHILADELPHIA, PA 19101-7346                             OFFICE
                                                                                                          FEDEARL BUILDING, ROOM 7516
                                                                                                          300 NORTH LOS ANGELES STREET
                                                                                                          LOS ANGELES, CA 90012

20 LARGEST CREDITOR                               CREDITOR                                                CREDITOR
ATTORNEY GENERAL                                  BANC OF CALIFORNIA, NATIONAL                            BMW BANK OF NORTH AMERICA
UNITED STATES DEPARTMENT                          ASSOCIATION                                             DEPARTMENT
OF JUSTICE                                        ROBERT S. MCWHORTER & JARRETT                           AIS PORTFOLIO SERVICES, LP
BEN FRANKLIN STATION                              S. OSBORNE-REVIS                                        ACCOUNT: XXXXXX5244
PO BOX 683                                        BUCHALTER, A PROFESSIONAL                               4515 N SANTA FE AVE. DEPT. APS
WASHINGTON, DC 20044                              CORPORATION                                             OKLAHOMA CITY, OK 73118
                                                  500 CAPITOL MALL, SUITE 19800
                                                  SACRAMENTO, CA 95814




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
